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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KENNETH E. WILLIAMS, PHD,                         :
    Plaintiff                                     :       No. 1:20-cv-02165
                                                  :
                  v.                              :       (Judge Kane)
                                                  :
SHIPPENSBURG UNIVERSITY OF                        :
PENNSYLVANIA,                                     :
     Defendant                                    :

                                              ORDER

       AND NOW, on this 18th day of July 2024, upon consideration of Shippensburg

University of Pennsylvania (“Defendant”)’s Motion for Summary Judgment (Doc. No. 49) and

supporting briefs and papers (Doc. Nos. 50, 51, 55), Plaintiff Kenneth E. Williams, PhD

(“Plaintiff”)’s brief in opposition and supporting papers (Doc. Nos. 53, 54, 60), IT IS

ORDERED THAT Defendant’s Motion for Summary Judgment (Doc. No. 49) is DENIED. 1

IT IS FURTHER ORDERED THAT a status telephone conference shall be held on July 25,

2024 at 10:30 AM to discuss a potential date for trial of this matter. The telephone number of

the Court for purposes of this call is 717-221-3900. Plaintiffs’ counsel shall initiate the

telephone call.


                                                              /s/Yvette Kane
                                                              Yvette Kane, District Judge
                                                              United States District Court
                                                              Middle District of Pennsylvania




1
  Defendant’s motion seeks summary judgment on Plaintiff’s claims of: (1) retaliation under the
Age Discrimination in Employment Act, 29 U.S.C. § 621 et seq.; and (2) retaliation under the
Americans with Disabilities Act, 42 U.S.C § 12101 et seq. Viewing the evidence of record in the
light most favorable to Plaintiff, the Court concludes that Plaintiff has raised a genuine dispute of
material fact as to both of his claims, and accordingly, Defendant’s motion is appropriately
denied. See Fed. R. Civ. P. 56(a).
